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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA


                              Alexandria Division


 FATMATA BANGURA, ET AL.

      Plaintiffs,



 V.                                       Civil Action No. l:18-cv-1290



MATTHEW G. WHITAKER, ACTING
ATTORNEY GENERAL OF THE
 UNITED STATES, ET AL.,

      Defendants.


                              MEMORANDUM OPINION


      THIS    MATTER    comes    before    the   Court   on   Plaintiffs'     and


 Defendants' Motions for Summary Judgement pursuant to Rule 56(a)

 of the Federal Rules of Civil Procedure.


      Plaintiff Momoh Bangura (^"Momoh") is a native and citizen of

Sierra Leone, who first came to the United States in 2004. Momoh

 married    Lashonna    Baylor   (''Baylor")     in   2005.   While   they    were

 married, Baylor submitted an 1-130 petition on behalf of Momoh

 with United States Citizenship and Immigration Services ("USCIS").

The couple divorced, and the petition was withdrawn. USCIS had not

 made a determination on the petition at the time it was withdrawn.

      In 2013, Momoh married plaintiff Fatama Bangura ("Fatama").

 Fatmata filed an 1-130 petition on behalf of Momoh. USCIS denied

 Fatama's    petition    to   have   the   agency     classify   Momah   as    her
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